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               UNITED STATES COURT OF APPEALS
                    FOR THE SECOND CIRCUIT
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IVAN ANTONYUK, et al.,

                      Plaintiffs-Appellees,
v.

STEVEN A. NIGRELLI, and MATTHEW J. DORAN                            Nos. 22-2908 (L)
                                                                         22-2972 (C)

                      Defendants-Appellants,

WILLIAM FITZPATRICK, et al.,

               Defendants.
__________________________________________

 DECLARATION IN SUPPORT OF MOTION TO STRIKE PURPORTED
           F.R.A.P. 28(j) NOTICE FILED BY AMICUS
               EVERYTOWN FOR GUN SAFETY

         STEPHEN D. STAMBOULIEH, declares under penalty of perjury, pursuant

     to 28 U.S.C. § 1746, that the following is true and correct:

     1. I am co-counsel for Plaintiffs-Appellees in this matter.

     2. This declaration and the annexed memorandum of law are submitted in support

        of the Plaintiffs-Appellees’ Motion to Strike amicus Everytown for Gun

        Safety’s purported Rule 28(j) letter.

     3. For all the reasons set forth in the attached memorandum, this Court should

        grant the relief requested.
    /s/ Stephen D. Stamboulieh
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    Stamboulieh Law, PLLC
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                    FOR THE SECOND CIRCUIT
___________________________________________

IVAN ANTONYUK, et al.,

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v.

STEVEN A. NIGRELLI, and MATTHEW J. DORAN                     Nos. 22-2908 (L)
                                                                  22-2972 (C)
                  Defendants-Appellants,

WILLIAM FITZPATRICK, et al.,

               Defendants.
__________________________________________

     MOTION TO STRIKE PURPORTED F.R.A.P. 28(j) NOTICE FILED BY
              AMICUS EVERYTOWN FOR GUN SAFETY


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        Dated: October 12, 2023
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         Plaintiffs-Appellees hereby move this Court, pursuant to F.R.A.P. 27 and

Local Rule 27.1, for an Order striking Everytown for Gun Safety’s (“Everytown”)

“F.R.A.P. 28(j)” (Doc. 391).1

                                     ARGUMENT

    I.      This Court Should Strike Everytown’s Purported 28(j) Letter.
         On October 12, 2023, amicus Everytown filed what it styles as a “F.R.A.P.

28(j)” in this case. See Document 391 (Lead), Document 304 (Consolidated).

F.R.A.P. 28(j) states, in part, that “[i]f pertinent and significant authorities come to

a party’s attention after the party’s brief has been filed—or after oral argument but

before decision—a party may promptly advise the circuit clerk by letter, with a copy

to all other parties, setting forth the citations.” (emphasis added). There is no

question that “[a]n amicus curiae is not a party…” Cohen v. Empire Blue Cross &

Blue Shield, 176 F.3d 35, 41 (2d Cir. 1999). Notwithstanding its clear nonparty

status, Everytown filed a purported Rule 28(j) notice, which purports to include “53

additional examples and sources” of supposed “restrictions on firearms in parks.”

Doc. 304, at 1. Yet upon review, Everytown’s filing is not a Rule 28(j) notice, but

rather a supplemental brief – one filed by a nonparty, at that.




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  Counsel for Plaintiffs-Appellees conferred with counsel for both sets of
Defendants-Appellants regarding the relief requested in this Motion. Both stated
their opposition to the relief requested in this Motion.

                                           1
      While Everytown’s letter purports to provide the Court with “supplemental

authority,” in reality Everytown’s exhibit does not provide any actual historical

authorities. Rather, Everytown provides what it styles an “Exhibit” entitled “Table

of Parks Restrictions” – a document that apparently was prepared by Everytown. Id.

at 3-23. This Exhibit provides selective quotations to various purported historical

records that are alleged to exist, yet includes countless ellipses, evidencing words

that Everytown has subtracted, and contains numerous [bracketed] words that

Everytown apparently has added. This Court cannot rely on this edited version of

an alleged historical record. See DiBella v. Hopkins, 403 F.3d 102, 118 (2d Cir.

2005) (citations omitted) (“Rule [28(j)] cannot be used to submit new evidence to

the appeals court.”).

      Next, Everytown opines that its submission is appropriate because “this

research has taken considerable time,” and that “[h]istorical research is a slow and

cumulative process.” Id. at 1. No doubt, any research takes time. But Everytown

forgets the procedural posture of this case, which is on review of a preliminary

injunction that was entered more than 11 months ago, based on a case that was

filed nearly 13 months ago. To the extent that Everytown – a nonparty – wishes to

offer new authorities in an attempt to resuscitate the CCIA, the proper place would

be later, on summary judgment in the district court, with the trial court’s preliminary

injunction affirmed.



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      Nor is it probable that Everytown suddenly discovered all of its 53 new

authorities today, this week, or even this month. Indeed, Everytown claims that the

process has been “cumulative.” Doc. 391 at 1. Everytown thus concedes that it has

been in possession of many of these sources for some time, but has chosen not to

inform the Court, apparently having waited weeks and/or months to do so.

Everytown’s blatant delay in notifying the Court of these alleged sources further

counsels in favor of striking Everytown’s supplemental filing.

      It is also worth recounting that this Court denied a motion for leave to file an

amicus brief in this case, proposed by “30 Members of New York State Legislature,”

which would have been in support of Plaintiffs. See Document 365. Opposing that

filing, Defendants claimed the proposed amicus brief, filed only two weeks after the

deadline, was “prejudicial” because it was “more than two weeks late.”            See

Document 356, State Opposition to New York State Legislature Amicus at 2. It is

more than a bit ironic that Defendants oppose to Plaintiffs’ motion to strike now (see

supra at n.1), apparently having no concerns with the filing of what amounts to an

amicus brief (this time supporting them) more than 38 weeks late. This Court should

not permit it.

      Next, Everytown demurs this Court has “accepted 28(j) letter from amici” in

the past. See Doc. 391 at 1 n. 1. In support, Everytown first cites In re Clinton

Nurseries, Inc., No. 20-1209, Dkt. 104 (2d Cir. Filed May 5, 2021), which involved



                                          3
an amicus response to a 28(j) filed by a party (and apparently without objection

from either side).2 Everytown’s third case, U.S. v. Broadcast Music, Inc., No. 16-

3830, Dkt. 192 (2d Cir. Nov. 22, 2017) involved the Court denying an amicus

request to participate in argument, but permitting a short opportunity to respond –

contemporaneously with ongoing proceedings – by filing a 28(j). Doc. 391 at 1 n.1.

      But even on their merits, Defendants’ new purported analogues are entirely

unhelpful and, in fact, historically irrelevant.        For starters, the earliest of

Everytown’s new ordinances did not come into being until 1858, nearly three-

quarters of a century after the Founding. Doc 391. at 3. The vast majority – 38 of

53 – are from the 20th century, with the last from 1940, nearly two centuries after

ratification. Id. at 22. This is precisely the sort of late-coming historical records the

Supreme Court has expressly rejected. See N.Y. State Rifle & Pistol Ass’n v. Bruen,

142 S. Ct. 2111, 2137 (2022) (treating 19th-century evidence “as mere confirmation”

of a historical tradition); id. at 2154 n.28 (rejecting 20th-century laws as failing to

“provide insight into the meaning of the Second Amendment when it contradicts

earlier evidence”). Indeed, a historical tradition that did not exist at the Founding

cannot be created in the 19th Century. See Espinoza v. Mont. Dep’t of Revenue, 140

S. Ct. 2246, 2258-59 (2020) (rejecting Reconstruction-era laws from “more than 30


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States” as failing to “establish an early American tradition”). The Supreme Court

thus has explicitly rejected the very sort of “tradition” that Everytown’s 28(j) offers.

      The temporal irrelevance of Everytown’s sources is a separate problem from

whether they even comport with Bruen’s “how” and “why” metrics for analogical

reasoning, as many of Everytown’s sources likely were anti-poaching measures –

entirely unlike the CCIA’s broad ban on law-abiding persons carrying handguns in

public for self-defense. Moreover, the large majority of sources provided by

Everytown appear to be from a city, borough, village, district, or municipal

authority. Some repeat the same cities. See, e.g., #6, 10, 55, 83 (all Chicago). The

first purported statewide ban identified was 1901 (Minnesota), and purported to

create a 3,000 foot firearm exclusion zone around all parks. Id. at 10. This plainly

violates the Supreme Court’s admonition not to, for example, turn the entire Island

of Manhattan into a sensitive place. Bruen at 2134.

      Of course, Plaintiffs cannot adequately (or appropriately) respond, via a

motion to strike, to Everytown’s eleventh-hour attempt to inject new life into the

CCIA. To do so would take a supplemental brief. But there is absolutely no

justification to require, permit, or allow such additional litigation now, when this

matter has been briefed, argued, submitted, and pending before the Court for nearly

seven months. Nor is there any reason to allow Everytown to file a supplemental




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brief, offering novel and untested authorities, without the opportunity briefing or

argument by the parties.

      Rule 28(j) letters typically advise of a new development in another court.

Notably, none of Everytown’s authorities is of that sort – in fact, not a single one is

from this year, this decade, or even this century. It would have been inappropriate

for Defendants to have attempted to inject new historical evidence at this late date.

It is doubly inappropriate for a nonparty amicus to attempt to do so.

      On January 11, 2023, two Justices from the United States Supreme Court

stated that “[a]pplicants [in this case] should not be deterred by today’s order from

again seeking relief if the Second Circuit does not, within a reasonable time, provide

an explanation for its stay order or expedite consideration of the appeal.” Antonyuk

v. Nigrelli, 143 S. Ct. 481 (2023) (Statement of Justice Alito, with whom Justice

Thomas joins, respecting the denial of the application to vacate stay). While this

Court scheduled briefing and heard argument quickly, its opinion has not been

forthcoming. Now, Everytown seeks to reset the clock entirely, asking the Court to

begin its historical analysis (at least to parks3) anew, with the only possible effect to




3
 Should this Court permit Everytown’s filing today, who knows what Everytown
(or any other amicus) might attempt tomorrow, perhaps seeking to pad the stats
and offer additional irrelevant historical authorities for other of the CCIA’s dozens
of so-called “sensitive locations.” Perhaps such measures already are in the works.
This Court should not open Pandora’s box.

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further delay issuance of the Court’s opinion. To permit Everytown’s shenanigans

would be to ignore the Justices’ warning.

                                    CONCLUSION

      This Court should strike Everytown’s filing and conclude its consideration of

this matter without delay.

                                                Respectfully submitted,

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                                                Dated: October 12, 2023




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                         CERTIFICATE OF COMPLIANCE

      Pursuant to Rules 27 and 32 of the Federal Rules of Appellate Procedure, I

hereby certify that according to the word count feature of Microsoft Word 365, the

document contains 1,477 words and complies with the typeface requirements and

length limits of Rules 27(d) and 32(a)(5)-(6).



                                /s/ Stephen D. Stamboulieh
                                Stephen D. Stamboulieh




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